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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                    PORTLAND DIVISION



SABRINA GRETE KAUFMAN, on behalf of                                               Case No. 3:13-cv-01932-HZ
herself and all others similarly situated,

                      Plaintiff,                         OBJECTIONS TO DEFENDANT’S
                                                         COST BILL
   v.
                                                         ORAL ARGUMENT REQUESTED
GEICO INDEMNITY COMPANY,

                      Defendant.




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       Pursuant to FRCP 54 and LR 54-1, plaintiff Sabrina Grete Kaufman (“plaintiff” or

“Kaufman”) 1 hereby files her objections to Defendant GEICO Indemnity Company’s Bill of

Costs filed June 19, 2015 [Docket No. 83] (“Cost Bill”).

I.     INTRODUCTION

       Plaintiff requests in the first instance that defendant’s Cost Bill be denied in its entirety

because, prior to filing, defendant failed to confer pursuant to LR 7-1(a)(1).

       Plaintiff also requests that this Court exercise its discretion to deny all costs to defendant

on the ground that awarding the $5,575.47 in costs requested by defendants would be

inequitable. In particular, an award of costs would be unjust because it would chill consumers’

efforts to enforce the terms of their insurance agreements where the dollar amounts at issue are

relatively small, because of the economic disparity between plaintiff and defendant, and because

the issues in this case were close and difficult and plaintiff’s claims had merit.

       In the event this Court declines to deny all of defendant’s costs, plaintiff objects to many

of defendant’s claimed costs on the ground that they are not recoverable under 28 U.S.C. §1920,

and on the ground that defendant has failed to prove that the costs were necessarily incurred in

this case, as required by LR 54-1(a)(1), 28 U.S.C. §1920, and 28 U.S.C. §1924.

II.    ARGUMENT

       A.      Defendant Failed to Confer Prior to Filing

       LR 7-1(a)(1) requires that parties confer prior to the filing of motions, and under LR 7-

1(a)(3) a court may deny a motion that does not meet this requirement. In this case, defendant

filed its Cost Bill, and its Supplementary Request for Attorneys’ Fees [Docket No. 84]


1
 During a telephone call on June 24, 2015, counsel for defendant confirmed that defendant seeks
an award of costs against Kaufman only. See Declaration of Steve D. Larson in Support of
Opposition to Defendant’s Supplementary Request for Attorneys’ Fees and in Support of
Objections to Defendant’s Cost Bill (“Larson Dec.”), ¶ 2.
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(“Attorney Fee Motion”) on June 19, 2015. Counsel for plaintiff had no prior notice that these

were coming. Larson Dec., ¶ 2. On the afternoon of June 23, 2015, four days after filing the Cost

Bill and Attorney Fee Motion, counsel for defendant contacted plaintiff’s counsel to confer about

them. Id. On June 24, 2015, counsel for the parties participated in a telephone call. Later that

day, defendant filed a Certificate of Compliance with Local Rule 7-1(a) Re: Request for Fees,

AZ Resident (Dkt. #84) [and] Bill of Costs (Dkt. # 83) [Docket No. 86], which stated, in

pertinent part: “Pursuant to Local Rule 7-1(a), the undersigned, Sheila Carmody and Stuart D.

Jones, conferred in good faith with counsel for the Plaintiff by telephone regarding whether

Plaintiff would agree to either the Bill of Costs [Dkt. #83] or requested fees limited to Arizona

resident [Dkt. #84].” This statement leaves the impression that defendant complied with LR 7-

1(a) and conferred with plaintiff prior to filing, when no such conferral took place or was even

attempted. Because defendant failed to comply with LR 7-1(a)(1), its Cost Bill should be denied.

       B.      The Court Should Exercise Its Discretion to Deny All Costs to Defendant
               Because Awarding Costs Would Be Inequitable Under the Circumstances

       The court has broad discretion to disallow costs to a prevailing party, Frederick v. City of

Portland, 162 F.R.D. 139, 142 (D. Or. 1995), and “may ‘deny costs to a prevailing party for

reasons other than punishing misconduct.’ ” Mak v. Asante, 2007 WL 2344824, *1 (D. Or.

2007), quoting Kelley v. Sears, Roebuck, and Co., 2004 WL 1824121, *3 (D. Or. 2004); see also

Nederhiser v. Foxworth, 2007 WL 1378602, *1 (D. Or. 2007) (“Rule 54(d) allows a court to

decline to tax costs, but does not authorize a court to award excess costs in the absence of a

specific congressional command” [internal quotation marks and citation omitted]).

       In Association of Mexican-American Educators v. State of California, 231 F.3d 572, 592

(9th Cir. 2000), the Ninth Circuit set forth the factors a court should consider in deciding whether

to award costs against a non-prevailing party. Those factors include: the losing party's limited

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financial resources, misconduct on the part of the prevailing party, the chilling effect on future

litigants, whether the case involves issues of substantial public importance, whether there is great

economic disparity between parties, whether the issues in the case are close and difficult, and

whether the plaintiffs’ case, although unsuccessful, had some merit. See also Sy v. United Parcel

Service Gen. Services Co., 1999 WL 447458, *2 (D. Or. Jun. 23, 1999) (denying costs to

defendant “[c]onsidering the economic hardship an award of costs would impose on the

plaintiffs, considering the disparity in resources between the parties, and given that public access

to the court system for all litigants with good faith claims is important”). Applying the above

factors to this case, this Court should deny costs to defendant.

               1.      This action raised issues of substantial public importance and an
                       award of costs would have a chilling effect on future litigants seeking
                       to raise such issues

       In this case, plaintiff sought to represent auto insurance policyholders who were, as a

result of defendant’s erroneous interpretation of its insurance policy, systematically charged

excessive deductibles for certain types of claims; specifically, claims involving the collision of

two vehicles insured under the same policy. At class certification, plaintiff moved to certify

classes in Oregon, Illinois, California, and Texas, and anticipated that the class would include

232 policyholders. See Plaintiff’s Motion for Class Certification and Memorandum in Support of

Motion [Docket No. 51] (“Class Cert. Motion”), at 6.

       At the same time plaintiff’s action carried the potential to benefit over two hundred

policyholders, her individual stake in the litigation was relatively small. Her individual claim for

the second deductible charged by defendant was only $500, not including prejudgment interest.

See Class Cert. Motion, at 4; and Plaintiffs’ Response to GEICO’s Motion for Summary

Judgment [Docket No. 75] (“Response to MSJ”) at 13. To award almost $6,000 in costs to


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defendant would have a chilling effect on other consumers who might similarly seek to challenge

their insurance companies with respect to commonly applicable coverage terms.

               2.      There is a significant economic disparity between the parties

       Costs should also be denied because it would be inequitable to force plaintiff to pay the

costs sought by defendant here given the massive economic disparity between the parties. It is an

abuse of discretion to award costs against a losing plaintiff without considering her limited

financial resources. Ass’n of Mexican-American Educators, 231 F.3d at 592; Stanley v. Univ. of

So. Calif., 178 F.3d 1069, 1079-80 (9th Cir. 1999).

       Plaintiff is an individual of limited means, and does not have the ability to pay

defendant’s Cost Bill. See Declaration of Sabrina Kaufman in Support of Objections to

Defendant’s Cost Bill, ¶¶ 2-4. Defendant, in contrast, is a massive corporation with billions of

dollars in assets. According to GEICO’s own website, as of June 2004 defendant alone had

assets in excess of $6.7 billion. See Larson Dec., Ex. 1.

               3.      Plaintiff’s claims were not meritless

       Plaintiff’s claims against defendant were not meritless, although they were ultimately

unsuccessful. The policy at issue does not allow two deductibles to be charged to plaintiff. The

plain language provides, with respect to physical damage coverage which applies here, that

“Losses arising out of a single occurrence shall be subject to no more than one deductible.” E.g.,

Complaint at ¶ 11. Defendant contended that language elsewhere in the policy—which provides

“if the policy covers two or more autos or trailers, the limit of coverage and any deductibles

apply separately to each—” trumps the single occurrence language. E.g., GEICO’s Motion for

Summary Judgment [Docket No. 69] at 2. However, this clause confirms that a single policy may

cover multiple vehicles. Plaintiff’s reading of the provision is consistent with defendant’s


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interpretation of the parallel Two Autos conditions elsewhere in the policy. E.g., Response to

MSJ at 8. The merit of plaintiff’s position is further demonstrated by the practical implications of

defendant’s interpretation: if plaintiff’s car would have been hit by a neighbor, she would not

have had to pay a deductible, but because her car was hit by her husband’s car, and his car was

covered by her policy, she was required to pay a second deductible.

       For all the above reasons, as a matter of equity, plaintiff – an individual consumer of

modest means – should not be saddled with what would be for her a large financial burden,

especially since, from defendant’s perspective, the $5,575.47 it is seeking is less than pocket

change. Accordingly, the Court should decline to award any costs to defendant.

       C.      Specific Objections to Defendant’s Cost Bill

       Should the Court decline to deny all of defendant’s claimed costs, plaintiff objects to

defendant’s claimed costs on the ground that many of the costs sought are not recoverable under

28 U.S.C. §1920, and on the ground that defendant has failed to prove, in many instances, that

the costs were necessarily incurred in this case, as required by LR 54-1(a)(1) and 28 U.S.C.

§1920. As such, if defendant is awarded any costs, the Cost Bill should be significantly reduced.

       Cost bills should “be given careful scrutiny.” Koppinger v. Cullen-Schiltz & Assoc., 513

F.2d 901, 911 (8th Cir. 1975). Unless otherwise authorized by statute or contract, the types of

costs that may be awarded under FRCP 54 are limited to those enumerated in 28 U.S.C. §1920.

See Crawford Fitting Co. v. J.T. Gibbons, Inc., 482 U.S. 437, 445 (1987); Kalitta Air LLC v.

Central Texas Airborne Sys., Inc., 741 F.3d 955, 958 (9th Cir. 2013) (courts deciding whether to

award costs must “hew closely to the statute’s language, scheme, and context, recognizing that §

1920 is narrow, limited, and modest in scope”). Further, 28 U.S.C. §1924 requires that each item




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on a bill of cost was “necessarily incurred in the case and that the services for which fees have

been charged were actually and necessarily performed.” See also 28 U.S.C. § 1920(2) & (4).

       Moreover, a party's conclusory assertion that the claimed costs were “reasonably and

necessarily” incurred is not, by itself, sufficient. Kraft v. Arden, 2009 WL 73869, *9 (D. Or.

2009); see also Arboireau v Adidas Salomon AG, 2002 WL 31466564, *6 (D. Or. 2002) (same).

Defendant has failed to show that most costs itemized in its Cost Bill were necessarily incurred

the case. Accordingly, a significant reduction in the Cost Bill is warranted.

               1.      Pro hac vice fees

       Defendant asks for $200 in pro hac vice fees for two of its out-of-state attorneys. See

Cost Bill, Ex. A at 1. In Kalitta Air LLC, supra, however, the Ninth Circuit held that such costs

are not recoverable. 741 F.3d at 958.

               2.      Service of process and witness fee for Dallis Hughes

       Defendant seeks to recover $263.20 in costs relating to service of process and a witness

fee relating to the deposition of former plaintiff Dallis Hughes. Mr. Hughes was voluntarily

dismissed, without prejudice, on August 18, 2014. See Docket No. 27. On Friday, August 22,

defendant filed a notice that it was going to subpoena Mr. Hughes for deposition, see Docket No.

30, and served him—on a rush basis—the following day. See Cost Bill, Ex. A, at 4. Along with

service, defendant asserts that it paid a witness fee of $68 to Mr. Hughes. Defendant fails to

explain why it needed to serve Mr. Hughes personally, instead of through counsel, or whether it

attempted to secure Mr. Hughes’ attendance at a deposition without the need for a witness fee. In

addition, the process server’s bill includes items such as “mileage” ($59.20), “rush fees” ($25),

“fee advance” ($85), and “affidavit prep” ($10). These go beyond mere service and, moreover,

appear to double-count the witness fee (“fee advance”) that defendant also claims to have made.


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Kraft, 2009 WL 73869, *9. These costs should not be allowed, both for the reasons set forth

above and because, as explained below, defendant has failed to show that Mr. Hughes’

deposition was necessary at all.

               3.      Depositions of Dallis Hughes and various defense witnesses

       Defendant requests to be reimbursed for costs of depositions that were never used in the

case, and has failed to offer any explanation as to their purported necessity. No parts of the

transcripts of the depositions of Messrs. Antonacci or Hughes, or Ms. Franklin, were used in

support of defendant’s motion for summary judgment, see Docket Nos. 69, 80, or in opposition

to plaintiff’s motion for class certification, see Docket No. 62. Nothing warrants shifting the

costs of those depositions and transcripts—either the $1,654.70 for court reporting services, or

the $263.20 for service on and a witness fee for Hughes. Moore v. Potter, 2010 WL 4781528, *3

(D. Or. 2010) (“Without any basis to determine how Potter used the transcripts of Chamberlain,

Marc Kersey, Santoro, and Johnson, the court is unable to determine whether Potter obtained

those transcripts for his counsel’s convenience or for pretrial preparation. … [T]he transcripts

were not required for Potter’s dispositive motion, as Potter never cited to the depositions of any

of these witnesses to support his motion or his reply. … [T]he transcripts were not submitted in

connection with any other filing in the case. Consequently, the court concludes that the cost of

these depositions transcripts is not recoverable.”); AlexanderManuf., Inc. Employee Stock

Ownership and Trust v. Illinois Union Ins. Co., 688 F.Supp.2d 1170, 1177 (D.Or. 2010) (“costs

related to depositions that ‘were merely useful for discovery’ are not taxable” [citation omitted]).

               4.      Deposition costs beyond reporter fees and transcript costs

       With respect to all depositions, including the depositions of plaintiff and Mr. Kaufman,

defendant seeks costs beyond copies of transcripts, court reporter attendance, and scanning of


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exhibits. The submitted invoices include items such as electronic transcripts, delivery, production

and handling, and archive fees (these costs for the depositions of Fetchina and the Kaufmans

alone equal $229.10). See Cost Bill, Ex. A at 5-8, 10-12. These are not listed in 28 U.S.C. §

1920, and they are not recoverable. Kalitta Air LLC, 741 F.3d at 959; Kraft, 2009 WL 73869, *9.

               5.      Videotape expenses

       Defendant requests $1,406.37 in videography-related costs incurred in connection with

three depositions. See Cost Bill, Ex. A at 1. $514.49 relate to Mr. Hughes’ deposition, and should

be denied for the reasons stated above. This amount, plus the remaining $891.88, should also be

denied because they are not expressly allowed by 28 U.S.C. § 1920(2), and they are unnecessary.

As Judge Coffin held in Davico v. Glaxosmithkline Pharmaceuticals, “if a party wishes to

videotape a deposition that is not a perpetuation deposition, it may certainly do so at its own

expense, but this court is not going to pass on what it views to be an unnecessary expense to the

other party by awarding such in a bill of costs.” 2008 WL 624049, *2 (D. Or. 2008); see also

Arboireau, 2002 WL 31466564, *6 (disallowing videotape costs where “[p]laintiffs obviously

would be available to testify at trial, and the videotaping costs duplicate the costs for the

transcript since both contain the same information”). The videographer invoices also include

non-recoverable charges for masters as well as copies, parking, delivery, archiving, and

synchronization. See Cost Bill, Ex. A at 11-12. Accordingly, defendants’ videography-related

costs should not be charged to plaintiffs.

               6.      Certified copies of public documents

       Defendant claims $143.25 in “fees for certified true copies of public documents.” See

Cost Bill, Ex. A at 1. These should be disallowed given that such expenses are not expressly

permitted under 28 U.S.C. §1920. Furthermore, the documents procured from the state—copies


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of form insurance policies from other insurance companies—were not necessarily obtained for

use in the case. See Cost Bill, Ex. A at 14. Defendant offers no explanation as to these

documents’ necessity. In fact, when defendant tried to obtain similar documents from plaintiff (a

replacement insurance policy she obtained from USAA after terminating her coverage with

defendant), the Court ruled that such documents were irrelevant and not reasonably calculated to

lead to the discovery of admissible evidence. See Docket No. 65. These costs should be denied.

III.   CONCLUSION

       For all the foregoing reasons, defendant’s Cost Bill should be denied in its entirety. In the

alternative, the costs awarded defendant should be reduced by the $3,896.62 in objectionable

charges. Thus, if any costs at all are awarded to defendant, they should not exceed $1,678.85.

       DATED this 2nd day of July, 2015.

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